Case 2:20-cv-03619-PSG-E Document 56

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Filed 06/15/21 Page 1of4 Page ID #:1039

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

TRAVELERS CASUALTY INSURANCE OF

 

 

 

 

CASE NUMBER:
AMERICA
PLAINTIFF(S), 2:20-CV-03619-PSG-E
V.
GERAGOS & GERAGOS, A PROFESSIONAL
CORPORATION NOTICE OF APPEAL
DEFENDANT(S).
NOTICE IS HEREBY GIVEN that GERAGOS & GERAGOS, APC hereby appeals to
Name of Appellant

the United States Court of Appeals for the Ninth Circuit from:

Criminal Matter

CJ Conviction only [F.R.Cr.P. 32(j)(1)(A)]
LC] Conviction and Sentence

C1 Sentence Only (18 U.S.C. 3742)

CJ Pursuant to F.R.Cr.P. 32(j)(2)

C1 Interlocutory Appeals

LJ Sentence imposed:

XC Bail status:

Imposed or Filed on June 9, 2021

A copy of said judgment or order is attached hereto.

June 15, 2021

. Entered on the docket in this action on

Civil Matter
CJ Order (specify):

XI Judgment (specify):
Plaintiff's Judgment on the Pleadings

C) Other (specify):

June 9, 2021

 

 

Date Signature
C) Appellant/ProSe Cotnsel for Appellant 0 Deputy Clerk
Note: The Notice of Appeal shall contain the names of all parties to the judgmenfor order and the names and addresses of the

attorneys for each party. Also, if not electronically filed in a criminal cas

, the Clerk shall be furnished a sufficient number

of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).

 

A-2 (01/07)

NOTICE OF APPEAL

 
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Gibson, Dunn &
Crutcher LLP

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CASE 3:30-6V-03618-PSEE BScunent ss FIG OSlde/st BSG zt Sk3 bS9s IB #1639

Ca

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RICHARD J. DOREN, SBN 124666 “SED
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Attorneys for Plaintiff Travelers Casualty
Insurance Company of America

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

TRAVELERS CASUALTY CASE NO. 2:20-cv-03619-PSG-E
INSURANCE COMPANY OF

AMERICA,
[P D] JUDGMENT

Plaintiff, . ;
Judge: Philip S. Gutierrez
v.

GERAGOS & GERAGOS, A
PROFESSIONAL CORPORATION,

Defendant.

 

GERAGOS & GERAGOS, A
PROFESSIONAL CORPORATION,

Counter-Claimant,

TRAVELERS CASUALTY
INSURANCE COMPANY OF
AMERICA; ERIC GARCETTI,

Counter-Defendants.

 

 

 

 

[Proposed] Judgment 2:20-cv-03619-PSG-E

 

 
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Gibson, Dunn &
Crutcher LLP

 

 

 

Pursuant to the Court’s April 27, 2021 order granting Plaintiff and Counter-
Defendant Travelers Casualty Insurance Company of America’s motion for judgment
on the pleadings, and the Court’s October 19, 2020 order granting with prejudice
Travelers Casualty Insurance Company’s motion to dismiss Geragos & Geragos,
APC’s counterclaim pursuant to Federal Rule of Civil Procedure 12(b)(6),

It is hereby ORDERED, ADJUDGED, and DECREED as follows:

1. Plaintiff and Counter-Defendant Travelers Casualty Insurance Company of
America shall have JUDGMENT in its favor on the Complaint and the Counterclaim.
2. Defendant and Counter-Claimant Geragos & Geragos, APC shall take

nothing

IT IS SO ORDERED.

Dated: o/9 2021 (i

By:
Chief United States District Judge

 

 

[Proposed] Judgment 1 2:20-cv-03619-PSG-E

 

 
 

 

 

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l PROOF OF SERVICE
2 || STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
3 I am employed in the County of Los Angeles, State of California. I am over the age
of 18 and not a party to the within action; my business address is 644 South F igueroa Street
4 || Los Angeles, California 90017-3411.
5 On June 15, 2021, I served the foregoing document described as NOTICE OF
‘ APPEAL on the interested parties listed below:
Theodore J. Boutrous Jr., Esq.
7 || Richard J. Doren, Esq.
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17
Attorneys for Defendant The Travelers
18 || Indemnity Company of Connecticut and
Cross-Complainants the Travelers
19 || Indemnity Company of Connecticut and
Travelers Casualty Insurance Company
20
21 || METHOD OF SERVICE
22
(BY ELECTRONIC TRANSMISSION) I caused the above-described document to be
23 || transmitted by electronic transmission.
24 Executed on June 15, 2021, at Los Angeles, California 90017.
25 I declare under penalty of perjury under the laws of the State of California that the
above is true and correct.
q
27 Be
28 JAMES RIMONTE

 

 

 

 
